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                                   7                             UNITED STATES DISTRICT COURT

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                                                                NORTHERN DISTRICT OF CALIFORNIA
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                                  11   UNITED STATES OF AMERICA,
                                  12               Plaintiff,                          No. CR 14-00175 WHA
Northern District of California
 United States District Court




                                  13        v.

                                  14   PACIFIC GAS AND ELECTRIC                        ORDER TO SHOW CAUSE WHY
                                       COMPANY,                                        FURTHER CONDITIONS OF
                                  15                                                   PROBATION SUGGESTED BY
                                                   Defendant.                          AMICI SHOULD NOT BE IMPOSED
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                                  18      Amici proposed four new conditions of probation:

                                  19      Proposed Condition 13:
                                                PG&E shall hire a Chief Data Operations Officer within 90 days
                                  20            with responsibility over a sufficient staff or no fewer than 10 data
                                  21            operations, information management, record-keeping, engineering,
                                                and legal professionals with responsibility for reviewing PG&E’s
                                  22            information management and record-keeping systems and their
                                                relationship to PG&E’s operations including vegetation management
                                  23            work and PSPS, and to report to PG&E’s CEO, the PG&E Board,
                                                the Monitor, parties to this action including amici and this court
                                  24            within 180 days about recommended actions to improve PG&E’s
                                  25            information and record-keeping management and the relationship
                                                between information management and analysis and action to operate
                                  26            safely. PG&E shall fund and support this position as a long-term
                                                corporate strategy to identify and remediate deficiencies in PG&E’s
                                  27            information management and record-keeping systems, including
                                                those of its contracts and subcontractors, and better use information
                                  28
                                                and records to trigger and inform safe operation.
                                   1        Proposed Condition 14:
                                                  PG&E shall immediately initiate steps to prevent data falsification or
                                   2              omission. This includes, but is not limited to, issuing orders to its
                                   3              employees, contractors, and subcontractors and creating information
                                                  management and record-keeping systems that prevent: a) the
                                   4              creation of false records such as by “scheduling” inspection or work
                                                  in the past (a false records that makes it appear that work has been
                                   5              done); b) omission of input of information in data fields; c) omission
                                                  of sufficient information to identify issues and follow-up needs.
                                   6
                                                  PG&E shall report to the Monitor, the Court, parties including
                                   7              Amici, its CEO and Board within 60 days on steps it has initiated to
                                                  prevent data falsification or omission.
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                                            Proposed Condition 15:
                                   9              PG&E shall within 90 days propose a plan to the Court, the Monitor,
                                                  parties including amici, the CEO, and the Board to use sensors, QR
                                  10              codes, or other markets that actively communicate information
                                                  (collectively, Internet of Things (IoT) devices) to mark trees for
                                  11
                                                  removal and track the status of the tree removal process for
                                  12              vegetation management. This proposal shall plan deployment of IoT
Northern District of California




                                                  devices for vegetation management in Tier 2 and 3 High Wildfire
 United States District Court




                                  13              Danger zones in lieu of using spray paint or other passive markets no
                                                  later than 180 days after this order. The information from the IoT
                                  14              device shall be integrated into PGE&’s information management,
                                                  record-keeping, and work system to track progress from
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                                                  identification of vegetation requiring additional work such as
                                  16              trimming, removal, or monitoring, to the follow-up work, and the
                                                  consideration of the status of that work in the PSPS process and in
                                  17              PG&E’s daily operations.
                                  18        Proposed Condition 16:
                                                  PG&E shall immediately initiate consideration of the status of
                                  19              information management based on the records in its possession,
                                  20              including in the possession of its contractors or subcontractors, in
                                                  PSPS and in daily operation. Within 90 days PG&E shall report to
                                  21              the Monitor, the Court, parties including Amici, its CEO and Board
                                                  about its steps to improve its information management and record-
                                  22              keeping process to improve information integrity, inform analysis,
                                                  and inform and enhance daily operation including PSPS.
                                  23
                                            PG&E, the government, and the Monitor shall please respond to the foregoing terms of
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                                       probation by MARCH 3, 2021, AT NOON. Amici may reply, if they desire, by MARCH
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                                   1   10, 2021, AT NOON.

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                                   3        IT IS SO ORDERED.

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                                   5   Dated: February 4, 2021.

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                                                                      WILLIAM ALSUP
                                   8                                  UNITED STATES DISTRICT JUDGE
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Northern District of California
 United States District Court




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